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                          LIIIITED STATBS DISTRICT COURT                                  r,:[ rr2oi6 W
                      FOR THE NORTHERI\ DISTRICT OF ILLINOIS
                                  EASTERN DIYISION
                                                                                   .,.IhfUt:r8fi[Y88ffi,
FEDERAL TRADE COMMISSION,
                                                              F'ILED T}]\IDER SEAL
               Plaintiff,
                                                              Case No. l:14-cv-1239
               v.
                                                              Judge Milton I. Shadur
CPATANK, NC., an Illinois corporation,

VITO GLAZERS, individually and as an officer
of CPATank,Inc.,

EAGLE WEB ASSETS,INC., an Illinois
Corporation, and

RYAN EAGLE, individually and as an officer of
Eagle Web Assets, Inc.,

               Defendants.



 IPROPOSED] TEMPORARY RESTRAINING ORDER CONTAINING ASSET FREEZE
 AND LIN{ITED EXPEDITED DISCOVERY, AND ORDER TO SHOW CAUSE WHY A
              PRELIMINARY INJUNCTION SHOULD NOT ISSUE

       Plaintiffthe Federal Trade Commission ("FTC" or "Commission"), pursuant to Section

13(b) ofthe FTC Act, l5 U.S.C. $ 53(b), and the Stipulated Final Judgment and Order for

Permanent Injunction and Other Equitable Relief ("Stipulated Judgment") in this matter, see Dkt.

8, moves this Court for the entry of an ex parte Temporary Restraining Order Containing Asset

Freeze and Limited Expedited Discovery, and Order to Show Cause Why A Preliminary

Injunction Should Not Issue under Rule 65(b) of the Federal Rules of Civil Procedure.

                                      I. FINDINGS OF'FACT
       This Court, having considered the FTC's Motion to Lift Partial Suspension of Judgment,

ex parte application, declarations,   exhibits, and memoranda filed in support of the FTC's
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application, and the evidence presented, finds that:

        1.      This Court has jurisdiction over the subject matter of this case, and there is good

cause to believe it will have jurisdiction over all parties hereto;

        2.      There is good cause to believe that venue lies properly with this Court;

        3.      There is good cause to believe that Defendant Vito Glazers failed to disclose a

material asset, materially misstated the value of an asset, or made another material misstatement

or omission on his Financial Statement of Individual Defendant submitted on November 19,

20t3;

        4.      There is good cause to believe that immediate and irreparable damage to the

Court's ability to grant effective final relief provided for in the Stipulated Judgment will occur

from the transfer, dissipation, or concealment by Glazers of his assets unless Glazers continues to

be restrained and enjoined by Order of this Court and that in accordance with Fed. R. Civ. P.

65(b), the interest ofjustice requires that the FTC's application be heard ex parte without prior

notice to Glazers. Therefore, there is good cause for relieving the FTC of the duty to provide

Glazers with prior notice of the FTC's application;

        5.      Good cause exists for permitting the FTC to take limited expedited discovery

from Glazers and third parties as to the existence and location of assets;

        6.      Weighing the equities and considering the FTC's likelihood of ultimate success, a

temporary restraining order with an asset freeze,limited expedited discovery as to the existence

and location of assets, and other equitable relief is in the public interest; and

        7.     No security is required of any agency of the United States for the issuance of a

temporary restraining order. Fed. R. Civ. P. 65(c).
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                                          II. DEF'INITIONS
           For the purposes of this Temporary Restraining Order, the following definitions apply:

           A.     "Assets" means any legal or equitable interest in, right to, or claim to, any and all

real and personal property of Defendant Vito Glazers, or held for the benefit of Defendant

Glazers, wherever located, whether in the United States or abroad, including but not limited to

chattel, goods, instruments, equipment, fixfures, general intangibles, effects, leaseholds,

contracts, rnail or other deliveries, inventory, checks, notes, accounts, credits, receivables (as

those terms are defined in the Uniform Commercial Code), shares of stock, futures, all cash or

currency, and trusts, including but not limited to a trust held for the benefit of Defendant Glazers,

any of Defendant Glazers's minor children, or Defendant Glazers's spouse, and shall include

both existing assets and assets acquired after the date ofentry ofthis order, or any interest

therein.

           B.     '(I)ocument" is synonymous in meaning and equal in scope to the terms

"document" and "electronically stored information," as described and used in Federal Rule of

Civil Procedure 3a(a)( I )(A).

           C.     ooFinancial Institution" means any bank, savings and loan institution, credit


union, or any financial depository of any kind, including but not limited to, any brokerage house,

trustee, broker-dealer, escrow agent, title company, commodity trading company, or precious

metal dealer, or other depository of any kind.

           D.     "Person" means any individual, group, unincorporated association, limited or

general partnership, corporation or other business entity, including but not limited to a Financial

Institution.
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                                       III. ASSET FREEZE
       IT IS THEREFORE ORDERED that Defendant Glazers, and his officers, agents,

servants, employees, and attorneys, and all other Persons or entities directly or indirectly under

the control of him, including any Financial Institution, and all other Persons or entities in active

concert or participation with him who receive actual notice of this Order are hereby temporarily

restrained and enjoined from directly or indirectly:

       A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

concealing, dissipating, disbursing, assigning, spending, withdrawing, granting a lien or security

interest or other interest in, or otherwise disposing of any Assets, or any interest therein,

wherever located, including outside the United States, that are:

                1.     owned or controlled, directly or indirectly, by Defendant Glazers, in whole

       or in part, or held, in whole or in part, for the benefit of Defendant Glazers;

               2.      in the actual or constructive possession of Defendant Glazers;

               3.      owned, controlled by, or in the actual or constructive possession of any

       corporation, partnership, or other entity directly or indirectly owned, managed, or

       controlled by Defendant Glazers, including, but not limited to, any Assets of Solomon

       Assets, LLC, or any other entity acting under a fictitious name owned by or controlled by

       Defendant Glazers, and any Assets held by, for, or under the name of Defendant Glazers

       at any Financial Institution;

       B.      Opening or causing to be opened any safe deposit boxes either titled in the name,

individually or jointly, or subject to access by Defendant Glazers;

       C.      Incurring charges or cash advances on any credit card, debit card, or checking

card issued in the name, singly or jointly, of Defendant Glazers;

       D.      Obtaining a personal or secured loan, individually or jointly;
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       E.      Incurring liens or encumbrances on real property, personal property or other

Assets in the name, singly or jointly, of Defendant Glazers; and

       F.      Cashing any checks or depositing any money orders or cash received from

consumers, clients, or customers of Defendant Glazers.

       The Assets affected by this Section shall include: (l) all Assets of Defendant Glazers as

of the time this Order is entered; and (2) for Assets obtained after the time this Order is entered.

This Section does not prohibit the repatriation of foreign Assets.

                IV. COMPLETION OF'F'INANCIAL DISCLOSURE FORM
       IT IS FURTHER ORDERED that within seven (7) days of the entry of this Order,

Defendant Glazers shall submit a truthful, accurate, and complete FTC Financial Disclosure of

Individual Defendant, a blank version ofwhich is attached hereto as Exhibit l, to the FTC.

   V. RETENTION OF ASSETS AND PRODUCTION OF DOCUMENTS BY THIRI)
                                             PARTIES

       IT IS FURTHER ORDERED that, pending determination ofthe FTC's request for a

preliminary injunction, any Financial Institution, electronic data host, or Person served with a

copy of this Order that holds, controls, or maintains custody of any account, document,

electronically stored information, or asset of, on behalf of, in the name of, for the benefit of;

subject to withdrawal by, subject to access or use by, or under the signatory power of Defendant

Glazers, or other party subject to Section III above, or has held, controlled, or maintained any

such account, document, electronically stored information, or asset, shall:

       A.      Hold, preserve, and retain within such Person's control, and prohibit the

withdrawal, removal, alteration, assignment, transfer, pledge, hypothecation, encumbrance,

disbursement, dissipation, conversion, sale, liquidation, or other disposal of such account,
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document, electronically stored information, or asset held by or under such Person's control,

except as directed by further order ofthe Court;

       B.      Provide the FTC and the FTC's agents immediate access to electronically stored

information stored, hosted, or otherwise maintained on behalf of Defendant Glazers for forensic

imaging;

       C.      Deny access to any safe deposit boxes that are either titled in the name,

individually or jointly, or subject to access by Defendant Glazers, or other party subject to

Section III above; and

       D.      Provide to the FTC, within one (1) business day, a sworn statement setting forth:

               l.        the identification of each account or asset titled in the name, individually

       or jointly, or held on behalf of or for the benefit of, subject to withdrawal by, subject to

       access or use by, or under the signatory power of any Defendant Glazers, or other party

       subject to Section III above, whether in whole or in part;

               2.        the balance ofeach such account, or a description ofthe nature and value

       of such asset, as of the close of business on the day on which this Order is served;

               3.        the identification of any safe deposit box that is either titled in the name

       of, individually or jointly, or is otherwise subject to access or control by, Defendant

       Glazers, or other party subject to Section III above, whether in whole or in part; and

               4.        if the account, safe deposit box, or other asset has been closed or removed,

       the date closed or removed, the balance on said date, and the name or the Person to whom

       such account or other asset was remitted;

               5.        Provide counsel for the FTC, within three (3) business days after being

       served with a request, copies of all documents pertaining to such account or asset,
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        including but not limited to: account statements, account applications, signature cards,

       checks, deposit tickets, transfers to and from the accounts, wire transfers, all other debit

       and credit instruments or slips, 1099 forms, and safe deposit box logs; and

               6.      Cooperate with all reasonable requests of the FTC relating to this Order's

        implementation.

       IT IS FURTHER ORDERED that the accounts subject to this Order include all assets

of Defendant Glazers deposited as of the time this Order is entered.

       IT IS FURTHER ORDERED that, in addition to the information and documents

required to be produced pursuant to this Order, the FTC is granted leave, pursuant to Fed. R. Civ.

P. 45, to subpoena documents immediately from any Financial Institution, electronic data host,

or other Person served with a copy of this Order that holds, controls, or maintains custody of any

account, document, electronically stored information, or asset of, on behalf of, in the name of,

for the benefit of, subject to withdrawal by, subject to access or use by, or under the signatory

power of Defendant Glazers, or other party subject to Section III above, or has held, controlled,

or maintained any such account, document, electronically stored information, or asset, and such

Financial Institution, electronic data host or Person shall respond to such subpoena within three

(3) business days after service. The FTC may effect service by electronic mail.

                             VI. CONSUMER CREDIT REPORTS
       IT IS FURTHER ORDERED that the FTC may obtain credit reports conceming Defendant

Glazers pursuant to Section 604(a)(1) of the Fair Credit Reporting Act, 15 U.S.C. $ 1681b(a)(1), and

that, upon written request, any credit reporting agency from which such reports are requested shall

provide them to the FTC.
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        VII. ACKNOWLEDGMENT OF RECEIPT OF ORDER BY DEFENDANT
       IT IS FURTHER ORDERED that Defendant Glazers, within three (3) business days of

receipt of this Order, must submit to counsel for the FTC a truthful sworn statement

acknowledging receipt of this Order.

                       VIII. CORRESPONDENCE WITH PLAINTIFF
       IT IS FURTHER ORDERED that, for the purposes ofthis Order, because mail

addressed to the FTC is subject to delay due to heightened security screening, all correspondence

and service of pleadings on Plaintiff shall be sent via electronic submission and Federal Express

to:

               Colin D. A. MacDonald
               Federal Trade Commission
               600 Pennsylvania Ave., NW, Mail Drop CC-9528
               Washington, DC 20580
               Telephone: (202) 326-3 192
               Fax (202) 326-3197
               Email: cmacdonald @ftc.gov

                                IX. SERYICE OF THIS ORDER
       IT IS FURTHER ORDERED that copies of this Order may be served by facsimile,

email, hand-delivery, personal or overnight delivery, or U.S. Mail, by agents and employees of

the FTC or any state or federal law enforcement agency or by private process server, upon any

Financial Institution or other entity or Person that may have possession, custody, or control of

any documents or assets of Defendant Glazers, or that may otherwise be subject to any provision

of this Order. Service upon any branch or office of any Financial Institution shall effect service

upon the entire Financial Institution.
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                         X. PRELIMINARY INJUNCTION HEARING
        IT IS ORDERED, pursuant to Fed. R. Civ. P. 65(b), that Defendant Glazers shall appear

before this Court on    the      day of                 ,2016, at                o'clock a.m./p.m.,

at the United States District Courthouse, Courtroom   _,    Chicago, Illinois, to show cause, if

there is any, why this Court should not enter a preliminary injunction enjoining the violations of

law alleged in the FTC's Complaint, continuing the freeze of their assets, and imposing such

additional relief as may be appropriate.

        IT IS FURTHER ORDERED that Defendant Glazers shall file with the Court and serve

on the FTC's counsel any answering pleadings, affidavits, motions, expert reports, declarations,

witness lists with detailed summaries of expected witness testimony, and/or legal memoranda, no

later than five days prior to the hearing. The FTC may file responsive or supplemental

pleadings, materials, affidavits, witness lists with detailed summaries of expected witness

testimony, and/or memoranda with the Court and serve them on Defendant Glazers's counsel no

later than two days prior to that hearing. Such affidavits, pleadings, motions, expert reports,

declarations, witness lists with detailed summaries of expected witness testimony, legal

memoranda and/or oppositions must be served by electronic mail (or Federal Express,      if
electronic mail is impractical), and must be received by the other party no later than the

deadlines set forth in this Section.

                                   XI. DTIRATION OF ORDER
        IT IS FURTHER ORDERED that the Temporary Restraining Order granted herein

shall expire on   the            day of                             , 2016, at _o'clock a.m.lp.m.,

unless within such time the Order, for good cause shown, is extended for an additional period not

to exceed fourteen (14) calendar days, or unless it is further extended pursuant to Federal Rule of

Civil Procedure 65.
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                           XII. RETENTION OF JURISDICTION
         IT IS FURTHER ORDERED that this Court shall retain jurisdiction ofthis matter for

all purposes of construction, modification, and enforcement of this Order.




         IT IS SO ORDERED, this _ day of October,20l6, at               AM/PM, Cenhal

Daylight Time.




Dated:
                                             MILTON I. S}IADUR
                                             UNITED STATES DISTRICT JI]DGE




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